Case 22-19361-MBK                  Doc 2240          Filed 04/15/24 Entered 04/15/24 20:00:25                                     Desc Main
                                                   Document      Page 1 of 4



 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. BLR 9004-1(b)
 Rachel Ehrlich Albanese (#027542001)          Stacey E. Rufe (admitted pro hac vice)
 DLA PIPER LLP (US)                            WERNER AHARI MANGEL LLP
 1251 Avenue of the Americas                   2112 Pennsylvania Ave. NW
 New York, New York 10020                      Suite 200
 Telephone: (212) 335-4500                     Washington, DC 20037
 Facsimile: (212) 335-4501                     Telephone: (202) 599-1013
 Email: rachel.albanese@us.dlapiper.com        Email: srufe@wam.law

 Stephen C. Matthews (#055801994)
 DLA PIPER LLP (US)
 51 John F. Kennedy Parkway, Suite 120
 Short Hills, New Jersey 07078
 Telephone: (973) 520-2550
 Facsimile: (973) 520-2551
 Email: stephen.matthews@us.dlapiper.com

 Stuart M. Brown (#026641988)
 DLA PIPER LLP (US)
 1201 North Market Street, Suite 1200
 Wilmington, Delaware 19801
 Telephone: (302) 468-5700
 Facsimile: (302) 397-2336
 Email: stuart.brown@us.dlapiper.com

 Attorneys for Arch Insurance Company, Berkley
 Insurance Company, Berkshire Hathaway
 Specialty Insurance Company, U.S. Specialty
 Insurance Company, and XL Specialty Insurance
 Company
 In re:                                                                 Chapter 11
                                                                        Case No. 22-19361 (MBK)
 BLOCKFI INC., et al.,                                                  (Jointly Administered under a Confirmed Plan)
                                                                        Hearing Date: April 25, 2024, at 11:30 (ET)
                                  Debtors.    1                         Response Deadline: April 15, 2024, at 4:00 p.m. (ET)


               JOINDER TO THE OPPOSITION OF NATIONAL UNION FIRE
          INSURANCE COMPANY OF PITTSBURGH, PA TO WIND-DOWN DEBTOR
          BLOCKFI, INC.’S MOTION FOR ORDER REMANDING TO STATE COURT




 1
            The Wind-Down Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
 are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi Wallet LLC (3231); BlockFi Ventures LLC (9937);
 BlockFi International Ltd. (N/A); BlockFi Investment Products LLC (2422); BlockFi Services, Inc. (5965); and BlockFi Lending II LLC (0154).
 The location of the Wind-Down Debtors’ service address is c/o M3 Partners, 1700 Broadway, 19th Floor, New York, NY 10019.
Case 22-19361-MBK       Doc 2240     Filed 04/15/24 Entered 04/15/24 20:00:25            Desc Main
                                   Document      Page 2 of 4



        ACE American Insurance Company, Arch Insurance Company, Axis Insurance Company,

 Berkley Insurance Company, Berkshire Hathaway Specialty Insurance Company, Endurance

 American Specialty Insurance Company, U.S. Specialty Insurance Company, and XL Specialty

 Insurance Company (collectively, the “Insurers”) by and through undersigned counsel, hereby file

 this joinder (the “Joinder”) to the National Union Fire Insurance Company of Pittsburgh, PA

 Opposition to Wind-Down Debtor BlockFi Inc.’s Motion for an Order Remanding to State Court

 [ECF No. 2239] (the “Opposition”). In support of this Joinder, the Insurers state as follows:

        1.      The Insurers incorporate by reference and hereby join in all arguments set forth in

 the Opposition.

        2.      The Insurers respectfully request that the Court deny The Wind-Down Debtor

 BlockFi, Inc.’s Motion for an Order Remanding State Court Action [ECF No. 2181-1].

                         [Remainder of this page intentionally left blank]




                                                 2
Case 22-19361-MBK        Doc 2240     Filed 04/15/24 Entered 04/15/24 20:00:25        Desc Main
                                    Document      Page 3 of 4



 Dated: April 15, 2024
 New York, New York

 Respectfully submitted,

 DLA PIPER LLP (US)                                DUANE MORRIS LLP

 /s/ Rachel Ehrlich Albanese                       /s/ Wendy M. Simkulak
 Rachel Ehrlich Albanese (#027542001)              Wendy M. Simkulak
 1251 Avenue of the Americas                       Catherine B. Heitzenrater
 New York, New York 10020                          30 South 17th Street
 Telephone: (212) 335-4500                         Philadelphia, PA 19103-4196
 Facsimile: (212) 335-4501                         Telephone: (215) 979-1000
 Email: rachel.albanese@us.dlapiper.com            wmsimkulak@duanemorris.com
                                                   cheitzenrater@duanemorris.com
 Stephen C. Matthews (#055801994)
 51 John F. Kennedy Parkway, Suite 120             Jessica E. La Londe (admitted pro hac
 Short Hills, New Jersey 07078                     vice)
                                                   One Market Plaza, Suite 2200
 Telephone: (973) 520-2550
                                                   San Francisco, CA 94105-1127
 Facsimile: (973) 520-2551
                                                   Telephone: (415) 957-3225
 Email: stephen.matthews@us.dlapiper.com
                                                   jelalonde@duanemorris.com
 Stuart M. Brown (#026641988)
                                                   Jessica Priselac (admitted pro hac vice)
 1201 North Market Street, Suite 1200
                                                   625 Liberty Avenue, Suite 1000
 Wilmington, Delaware 19801
                                                   Pittsburgh, PA 15222-3112
 Telephone: (302) 468-5700
                                                   Telephone: (412) 497-1046
 Facsimile: (302) 397-2336
                                                   jpriselac@duanemorris.com
 Email: stuart.brown@us.dlapiper.com
                                                   Attorneys for ACE American Insurance
 - and -
                                                   Company
 WERNER AHARI MANGEL LLP
 Stacey E. Rufe (admitted pro hac vice)
 2112 Pennsylvania Ave. NW
 Suite 200
 Washington, DC 20037
 Telephone: (202) 599-1013
 Email: srufe@wam.law

 Attorneys for Arch Insurance Company, Berkley
 Insurance Company, Berkshire Hathaway
 Specialty Insurance Company, U.S. Specialty
 Insurance Company, and XL Specialty Insurance
 Company



                                               3
Case 22-19361-MBK      Doc 2240     Filed 04/15/24 Entered 04/15/24 20:00:25     Desc Main
                                  Document      Page 4 of 4



 SQUIRE PATTON BOGGS (US) LLP                    KAUFMAN DOLOWICH, LLP

 /s/ Mark D. Sheridan                             /s/ Seth D. Griep
 Mark D. Sheridan, Esq.
                                                 Seth D. Griep
 382 Springfield Avenue, Suite 300
                                                 Court Plaza North
 Summit, NJ 07401
                                                 25 Main Street, Suite 500
 Tel: 973-848-5600
                                                 Hackensack, NJ 07601
 Fax: 973-848-5601
                                                 Telephone: (201) 708-8224
 Email: mark.sheridan@squirepb.com
                                                 E-Mail: sgriep@kaufmandolowich.com
 Attorneys for Axis Insurance Company
                                                 -and-
                                                 Kevin J. Windels (Admitted Pro Hac Vice)
                                                 KAUFMAN DOLOWICH, LLP
                                                 40 Exchange Place, 20th Floor
                                                 New York, NY 10005
                                                 Telephone: (212) 485-9977
                                                 E-Mail: kwindels@kaufmandolowich.com

                                                 Attorneys for Endurance
                                                 American Specialty Insurance Company




                                             4
